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                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________
No. 23-3097                                                     September Term, 2024
                                                                         1:22-cr-00015-APM-1
                                                           Filed On: March 7, 2025
United States of America,

                 Appellee

        v.

Elmer Stewart Rhodes, III,

                 Appellant


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Consolidated with 23-3089


        BEFORE:           Wilkins, Circuit Judge

                                             ORDER

      Upon consideration of the motion to authorize excess compensation and interim
voucher payments, it is

       ORDERED that the motion be granted as to the request for interim payments,
and that movant Elizabeth A. Franklin-Best be authorized to submit vouchers for interim
compensation under the Criminal Justice Act, 18 U.S.C. § 3006A. Vouchers submitted
pursuant to this order must be titled “interim” and must be consecutively numbered.
Each voucher must state the period it covers. The first interim voucher is to be filed
within 60 days of the date of this order, and must reflect all compensation claimed and
reimbursable expenses incurred from the date of appointment to the date of this order.
Subsequent vouchers are to be submitted at 60-day intervals. All interim vouchers must
be supported by detailed and itemized time and expense statements. In addition, at
that point when counsel’s total claim becomes a claim for excess compensation
pursuant to 18 U.S.C. § 3006A(d)(3), counsel must provide a sufficiently detailed
explanation to support the claim that the representation is “extended” or “complex” and
that “excess payment is necessary to provide fair compensation.” See United States v.
Bailey, 581 F.2d 984, 990 (D.C. Cir. 1978). The question of whether this case warrants
excess compensation will be deferred pending this court’s review of any interim
vouchers submitted pursuant to this process.
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        Four-fifths of the approved number of hours claimed on interim compensation
requests, and any reimbursable expenses reasonably incurred, will be payable upon
approval of each voucher. At the conclusion of the representation, counsel must submit
a final voucher seeking payment of the one-fifth balance withheld from the earlier
interim vouchers. The final voucher must set forth in detail the time and expenses
claimed for the entire case, including all appropriate documentation. Counsel must
report, on the appropriate line of the final voucher, all compensation and reimbursement
previously received, as well as the amount remaining to be paid at the conclusion of the
case.

                                      Per Curiam


                                                        FOR THE COURT:
                                                        Clifton B. Cislak, Clerk

                                                BY:     /s/
                                                        Selena R. Gancasz
                                                        Deputy Clerk




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